                   Case: 1:08-cv-00066 Document #: 135 Filed: 03/06/09 Page 1 of 1 PageID #:3218
Order Form (01/2005)


                                 United States District Court, Northern District of Illinois

     N am e of A ssigned Judge
         or M agistrate Judge
                                        John W. Darrah         Sitting Judge if O ther
                                                                than A ssigned Judge


   CASE NUMBER                             08 C 66                         DATE                          3/6/09
            CASE                                            SPSS, Inc. v. Nie, et al.
            TITLE

  DOCKET ENTRY TEXT:

  Defendant’s motion to supplement [132, 133] is granted. Status hearing set for 3/11/09 is reset to 3/26/09 at
  9:00 a.m.




  Docketing to mail notices.




                                                                                         C ourtroom D eputy       mf
                                                                                                    Initials:




                                                                                                                       Page 1 of 1
